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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
______________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
             v.                     )  Case No. 1:21-cr-00225-DLF
                                    )
TRENISS JEWELL EVANS III,           )
                                    )
                Defendant.          )
____________________________________)


              DEFENDANT EVANS’S MOTION TO EXTEND FILING



Now comes Defendant, TRENISS JEWELL EVANS III, by and through his

attorney, Steven A. Metcalf II, and respectfully moves this Honorable Court for an

additional day to file Supplemental Sentencing material, which consists of video

submissions. In support thereof the Defendant states:

      The video Defendant and I have been trying to file has caused numerous

issues. Defendant Evans has been working remotely on this for the last two days,

and the comprissing of the video into a file still has yet to be finalized.

      Additionally, I am having issues signing on to my USAfx account.

      In light of this continued unexpected delay, I am respectfully requesting an an

extension to submit such video to the Court as Supplemental Sentencing material.


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Specifically, I am requesting that such filing be made before midnight on September

19, 2022.

      Consequently, I am also requesting that the government be extended the same

amount of time to be able to respond or object to Defendant’s Supplemental material.

      I thank the Court in advance for its consideration and attention on this matter,

and apologize for not having been able to complete this sooner.

      Dated: September 16, 2022

                                             /s/ Steven A. Metcalf II
                                             _________________________
                                             STEVEN A. METCALF II, ESQ.
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                       CERTIFICATE OF SERVICE

   I hereby certify that, on September 16, 2022, this motion was filed via the

Court’s electronic filing system, which constitutes service upon all counsel of

record.

                                                   /s/ Steven Alan Metcalf II
                                          ______________________________
                                             STEVEN A. METCALF II, ESQ.

                                Counsel for Defendant Treniss Jewell Evans III




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